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                          UNITED STATES DISTRICT COURT
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                                EASTERN DISTRICT OF CALIFORNIA
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 9   GLENN MCMILLAN, individually, and on              Case No. 1:15-cv-00695-DAD-SKO
     behalf of all other similarly situated,
10                                                     ORDER DIRECTING CLERK TO CLOSE
                                                       CASE
                        Plaintiff,
11
                                                       (Doc. 96)
12           v.

13   LOWE’S HOME CENTERS, LLC, et al.,

14                  Defendants.
     _____________________________________/
15

16

17          On July 12, 2017, the parties filed a Joint Stipulation of Dismissal with Prejudice, in which
18 the parties notified the Court “that all claims asserted in the Complaint by [Plaintiff], in his

19 individual capacity, are hereby dismissed with prejudice pursuant to Fed. R. Civ. P.

20 41(a)(1)(A)(ii), but without prejudice as to any claims of the putative class members.” (Doc. 96 at

21 2.) This stipulation is signed by all parties who have appeared in this action. (See id.) As such,

22 pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff has voluntarily dismissed (1)

23 the claims Plaintiff brought in his individual capacity with prejudice, and (2) the claims of the

24 putative class members without prejudice. As all claims in this matter have been voluntarily

25 dismissed, the Court DIRECTS the Clerk to close this case.

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27 IT IS SO ORDERED.

28 Dated:     July 13, 2017                                      /s/   Sheila K. Oberto             .
     UNITED STATES MAGISTRATE JUDGE
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